                                                                                  CLERK'S OFFICE U.S.DIST, C'OURT
                                                                                         AT M INGDON,VA
                                                                                              FILED
                                   UNITED STATES DISTRICT COURT
                                   W ESTERN DISTRICT OF VIRGINIA                           JUt 12 2215
UM TED STATES O F AM ERICA                                                            JU     X UDLEM cl.s
                                                                                     BY;        1      '
                                                        CaseN o.2:16CR 10
                                                                                             P

JAM ES ROBINSON
                            Defendant


                              O RD ER SETTU G CO NDITIONS OF RELEASE

IT ISORDERED thatthereleaseofthedefendantissubjecttothefollowingconditions:
    (1) Thedefendantmustnotcommitanyoffenseinviolationoffederal,stateorlocal1aw whileonrçlease.
    (2) ThedefendantmustcooperateinthecollectionofaDNA sampleifthecollectionisauthorizedby42USC 14135(a)
   (3) Thedefendantmustadvisethe courtorthe pretrialservicesoffice orsupervising ofticerin writing before any
       changeinaddressortelephonenumber.

   (4) Thedefendantmustappearincourtasrequired and,ifconvicted,mustsurrenderasdirectedtoserveany sentence
       im posed. ThedefendantmustnextappearatU .S.D istrictCom '
                                                               t,322 E.W ood Ave,Big StoneGap on August24,
       2016 at9:00 a.m.forjury trialand on August10,2016 at10:30 a.m.atU.S.DistrictCourt,180W .Main St.,
       A bingdon forpretrialconference

    (5) ThedefendantmustsignanAppearanceBond,ifordered.

                                  ADDITION AL CO NDITIO NS O F R ELEA SE


       ITISFURTHER ORDERED thatthedefendant'sreleaseissubjecttotheconditionslistedbelow:
(6) Thedefendantmust:
    (a) The defendantshallavoid contactoutsidethepresence ofhis/hercounselwith any alleged victimsorpotential
       witnessesregarding his/hercase.
   (b) Thedefendantshallreportasdirectedby theprobation officer,shallfollow thedirection oftheprobation oftker;
       shallpromptly repol'
                          tany personalstatuschangesto theprobaticm officer:thisshallinclude immediately reporting
       any contactby1aw enforcementoftkersregarding acriminalinvestigationoranyadditionalcriminalchargesplaced
       againstthe defendant. The defendantshallreside athis/her currentresidence,and shallnotchange residences
       withoutthepermissionoftheprobation officer.                                          '
   (c) Thedefendantshallabstainfrom theexcessiveuseofalcoholoranyuseorpossessionofanycontrolledsubstances
       unlessprescribedby alicensedtreatingphysician foralegithnatemedicalpupose.
   (d) Thedefendantshallnotpossessafzrearm orotherdangerousweaponandshallresideinaresidencefreeofsuch.
   (e) Thedefendantshallsubmittorandom routinednzgandoralcoholtestingandtreatmentasdirectedbytheprobation
       ofticer.
   (9 ThedefendantshallnottraveloutsidetheW estern DistrictofVirginiawithoutflrstobtainilk permission9om the
       probation ofticer.                                                                   ,
   (g) The defendantshallsubmitto warrantlesssearch and seizure ofhis/herperson and property asdirected by the
       probation officerforthepurposeofdetermineifhe/sheisin compliancewith his/herconditionsofprekialrelease.
   (h) Thedefendantshallnotassociatewith any knownusers/possessorsofillegalcontrolledsubstancesandshallnotbe
       presentin any location whereillegalcontrolledsubstancesarebeingused and/ordistributed,unlessapproved bythe
       supervisingofficerin cooperationw ith 1aw enforcem entoffcers.                        .



        Case 2:16-cr-00010-PMS Document 9 Filed 07/12/16 Page 1 of 2 Pageid#: 9
    (i) Thedefendantshallrestrahzanyanimalsonthepremisesofhis/herresidenceinawaysoastolibtinterferewiththe
        probation officer'saccesstothedefendant'sresidenceandto ensuretheofscer'ssafety.             I

                                 ADW SE O F PENALTIES AN D SAN CTION S
TO THE DEFENDANT:

YOU ARE ADVISED OF TTTE FO LLO W ING PENALTV S AN D SANCTIONS:

        Violating any ofthe foregoing conditions ofrelease may resultin the immediate issuance ofa warrantforyour
arrest,arevocationofyourrelease,anorderofdetention,aforfeitureofanybond,andaprosecutionfo)contemptandcould
resultinapossibleterm ofimprisonment,afine,orboth.                                            '
        W hileon release,ifyou commita federalfelony offense thepunishmentis an additionalprijon term ofnotmore
than tepyearsand fora federalmisdemeanoroffensethepunishmentisan additionalprison term ofnotmorethan oneyear.
Thissentencewillbeconsecutive(i.e.,inadditionto)toanyothersentenceyoureceive.
        Itisacrimepunishableby uptotenyearsinprison,anda$250.00fme,orboth,to:obstructacifiminalinvestigation'
                                                                                                          ,
                                                                                                            ,
tamper with a witness,victim ,or inform ant,retaliate or atlemptto retaliate against a w im ess,victim ,or inform ant;or
intimidateorattemptto intimidateawimess,victim,jtlror,informant,orofficerofthecomt Thepenaltiesfortmnpering,
retaliation,orlntimidationaresignificantlymoreseriousifthey involveakilling orattemptedkilling.
        Itaûerrelease,youknowinglyfailtoappearastheconditionsofreleaserequire,ortosurrendértosel'veasentence,
you m aybeprosecutedforfailingto appearorsurrenderand additionalpunishm entm ay beimposed.Ifyouareconvicted of:
        (1) anoffensepunishablebydeath,lifeimprisonment,orimprisonmentforatenn offifteenyearsormore,youwill
            befmednotmorethan $250.00 orimprisoned fornotmorethan 10years,orboth;
        (2) anoffensepunishablebyimprisonmentforaterm oftiveyearsormore,butlessthantiAeenyears,youwillbe
            finednotmorethan $250.00 orimprisoned fornotmorethan fiveyears,orboth;                  ,        '
        (3) anyotherfelony,youwillbet-
                                     mednotmorethan$250,000orimprisonednotmorethanoyeyear,orboth;
        (4) amisdemeanor,youwillbefinednotmorethan$100,000orhnprisonednotmorethanoneyearorboth;
A term ofimprisonmentimposed forfailureto appearorsurrenderwillbeconsecutiveto any otherseùtenceyou receive.In
addition,afaillzretoappearorsurrendermay resultin theforfeimreofanybondposted.

                                   ACKN OW LED GM ENT OF DEFENDANT
         lacknowledgethatIam thedefendantin thiscaseandthatIam awareoftheconditionsofrelease.Ipromiseto
obey al1conditionsofrelease,toappearasdirected,andsurrenderto serveanysentenceimposed.Iàm awareofthepenalties
and sanctionssetforth above.
                                                                                               f'


                                                                                                    D efendant'sSignature

                               DIRECTIONS TO UM TED STA TES M ARSH AT,

(X)ThedefendantisORDERED releasedafterprocessing.
()TheUnited StatesMarshalisORDERED tokeepthedefendantin custody untilnotitied bytheglerk orjudgethatthe
defendanthaspostedbond and/orcomplied with a1lotherconditigns            ease. Ifstillin custody,.
                                                                                                 the defendantmustbe
producedbeforetheappropriatejudgeatthetimeandplacespeciti .
Date:7/12/16
                                                                    amelaM eade argent,United StatesM ag'tz'
                                                                                                           aeJu ge




        Case 2:16-cr-00010-PMS Document 9 Filed 07/12/16 Page 2 of 2 Pageid#: 10
